Case 1:22-cv-10019-JSR Document 175 Filed 06/16/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

JANE DOE 1, individually and on behalf of all

others similarly situated,
Case No. 22-cv-10019-JSR

Plaintiff,
Vv.

JPMORGAN CHASE BANK, N.A.,

Defendant/Third-Party Plaintiff.

 

JPMORGAN CHASE BANK, N.A.,

Third-Party Plaintiff,
V.
JAMES EDWARD STALEY,

Third-Party Defendant.

 

 

NOTICE OF WITHDRAWAL OF HILLARY CHUTTER-AMES
AND [PROPOSED] ORDER |

PLEASE TAKE NOTICE that I, Hillary Chutter-Ames, of the law firm Wilmer Cutler
Pickering Hale and Dorr LLP (“WilmerHale”), hereby withdraw as Counsel of Record for
Defendant/Third-Party Plaintiff JPMorgan Chase Bank, N.A. in the above-captioned action.

I request that my name and email address be removed from the official dockets for the

above-captioned matters. I did not assert a retaining or charging lien.

 

There will be no prejudice from my withdrawal. Defendant/Third-Party Plaintiff will

/
continue to be represented in this action by legal counsel from WilmefHale and Massey & Gail

 
Case 1:22-cv-10019-JSR Document 175 Filed 06/16/23 Page 2 of 2

LLP. Any future correspondence and papers in this action should be directed to them.

Dated: June 9, 2023 /s/ Hillary Chutter-Ames
Hillary Chutter-Ames
WILMER CUTLER PICKERING
HALE AND DORR LLP

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Dated: June f6, 2023 The Hon. Jed S. Rakoff, U.S.D.J.

 

 

 

 
